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         United States Court of Appeals
                                                                       United States Court of Appeals

              for the Fifth Circuit                                             Fifth Circuit

                                                                              FILED
                                ___________                                April 2, 2024

                                 No. 24-10248                            Lyle W. Cayce
                                ___________                                   Clerk


Chamber of Commerce for the United States of
America, Fort Worth Chamber of Commerce; Longview
Chamber of Commerce; American Bankers Association;
Consumer Bankers Association; Texas Association of
Business,

                                                          Plaintiffs—Appellants,

                                     versus

Consumer Financial Protection Bureau; Rohit Chopra,
in his official capacity as Director of the Consumer Financial Protection Bureau,

                                         Defendants—Appellees.
                ______________________________

                Appeal from the United States District Court
                    for the Northern District of Texas
                          USDC No. 4:24-CV-213
                ______________________________

ORDER:
       IT IS ORDERED that the administrative stay of the District Court’s
transfer order is extended until 5:00PM on Friday, April 5, 2024.
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                         No. 24-10248




                      LYLE W. CAYCE, CLERK
                      United States Court of Appeals
                           for the Fifth Circuit
                           /s/ Lyle W. Cayce

          ENTERED AT THE DIRECTION OF THE COURT




                                2
